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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.      EDCV 20-1305-GW-KKx                                       Date: June 30, 2020
 Title: Lisa Snyder v. Sherri Kastilahn, et al.



Present: The Honorable KENLY KIYA KATO, UNITED STATES MAGISTRATE JUDGE


               DEB TAYLOR                                                  Not Reported
                Deputy Clerk                                              Court Reporter


     Attorney(s) Present for Plaintiff(s):                    Attorney(s) Present for Defendant(s):
                None Present                                               None Present

Proceedings:      (In Chambers) Order to Show Cause Why Plaintiff’s Request for Fee Waiver
                  Should Not Be Denied


         The Court is in receipt of Plaintiff Lisa Snyder’s Request for Fee Waiver. ECF Docket No.
(“Dkt.”) 3. Plaintiff alleges her only income is SNAP benefits of $192 per month and she “owns no
real estate, substantive jewelry (only cheap), no vehicles, no boats, has no inheritances retirement
benefits, etc., o[r] income and no bank accounts.” Id. Plaintiff’s Request, however, is not supported
by a declaration signed under penalty of perjury. See 28 U.S.C. § 1746 (declarations must generally
“be signed and certified as true under penalty of perjury”). Hence, the Court is inclined to deny
Plaintiff’s Request for Fee Waiver. Nevertheless, the Court will allow Plaintiff an opportunity to
cure the deficiency in her Request for Fee Waiver.
         Accordingly, if Plaintiff wishes to proceed with this lawsuit, within thirty (30) days of the
date of this Order she must (1) pay the full $400.00 filing fee; (2) file a request for in forma pauperis
status signed under penalty of perjury; or (3) show cause in writing why she is unable to do so. The
Clerk of Court is directed to mail Plaintiff a blank copy of the district’s form in forma pauperis
request (CV-060).
        Plaintiff is expressly warned that her failure to timely comply with this Order may
result in denial of her Request for Fee Waiver.
        IT IS SO ORDERED.




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